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     Attorney for Defendant Ross Hack
 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                                  FOR THE DISTRICT OF NEVADA

10   UNITED STATES OF AMERICA,                  )         No. 2:12-cr-63-PMP-CWH
                                                )
11                          Plaintiff,          )         Stipulation To Extend The Date From May
                                                )         13, 2014 To May 30, 2014 For The Filing Of
12          v.                                  )         Joint Proposed Case Specific Jury
                                                )         Questionnaire
13   ROSS HACK,                                 )
     MELISSA HACK, and                          )
14   LELAND JONES                               )
                                                )
15                          Defendants.

16          IT IS HEREBY STIPULATED AND AGREED, by and between Patricia A. Sumner and

17   Julia Gegenheimer, United States Department of Justice, Civil Rights Division, Trial Attorneys, and

18   Nicholas Dickinson, Assistant United States Attorney, counsel for the United States of America, and

19   Michael Kennedy, Chief Assistant Federal Public Defender, counsel for Ross Hack, Brent Bryson

20   and Gabriel Grasso, counsel for Melissa Hack, and James Hartsell, counsel for Leland Jones, that

21   the time for filing the joint proposed case specific jury questionnaire (see C.R. 237, 03/17/2014

22   minutes of proceedings) should be extended from Tuesday, May 13, 2014 to up and including Friday,

23   May 30, 2014.

24          The present trial date of Monday, August July 18, 2014 at 9:00 a.m and the present pretrial

25   conference of Tuesday, August 12, 2014 at 9:00 a.m. remain unchanged by this stipulation as it

26   applies only to the date for filing the proposed joint case specific jury questionnaire. There is no

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 1   Speedy Trial Act impact from this stipulation as time has previously been excluded up to and

 2   including the August 18, 2014 jury trial date.

 3   DATED: May 9, 2014

 4          Plaintiff United States

 5          DANIEL G. BOGDEN
            United States Attorney
 6

 7          /s/ Nicholas D. Dickinson                     /s/ Patricia A. Sumner
            Nicholas D. Dickinson, Esq.                   Patricia A. Sumner, Esq.
 8          Assistant United States Attorney              Trial Attorney, U.S. Dept. Of Justice
            Attorney for United States                    Civil Rights Division
 9                                                        Attorney for United States

10          Defendants Hack, Hack and Jones

11          /s/ Michael J. Kennedy
            Michael J. Kennedy, Esq.
12          Chief Assistant Federal Defender
            Attorney for Ross Hack
13

14          /s/ Gabriel L. Grasso
            E. Brent Bryson, Esq.
15          Gabriel L. Grasso, Esq.
            Attorneys for Melissa Hack
16

17          /s/ James Hartsell
            James Hartsell, Esq.
18          Attorney for Leland Jones

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 3
                                    UNITED STATES DISTRICT COURT
 4                                       DISTRICT OF NEVADA

 5

 6    UNITED STATES OF AMERICA,                          2:12-cr-063-PMP-CWH

 7                    Plaintiff,                         FINDINGS OF FACT, CONCLUSIONS OF
                                                         LAW, AND ORDER
 8    vs.

 9    ROSS HACK,
      MELISSA HACK, and
10    LELAND JONES,

11                    Defendants.

12                                        FINDINGS OF FACT

13          Based on the pending Stipulation of counsel, and good cause appearing therefore, the Court

14   finds that good cause exists for adopting the proposed extension of time to file the joint proposed

15   case specific jury questionnaire. The trial date of August 18,, 2014 remains unchanged.

16                                     CONCLUSIONS OF LAW

17          The Court finds that this request for a continuance of the pretrial motions schedule will not

18   impact the Speedy Trial Act as the court has previously set a trial date of August 18, 2014 and

19   previously determined that, pursuant to the parties stipulation, that the ends of justice served by

20   doing so outweigh the defendants’ and public’s best interests in a speedy trial. 18 U.S.C. §

21   3161(h)(7)(A).

22                                               ORDER

23          IT IS ORDERED THAT the joint proposed case specific jury questionnaire shall be filed on

24   or before May 30, 2014.

25                12 day of May, 2014.
            DATED ___

26
                                                  PHILLIP M. PRO
27                                                SENIOR UNITED STATES DISTRICT JUDGE

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